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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              VALDOSTA DIVISION


VONTRESSA DENNIS,

      Plaintiff,

v.
                                               Civil Action No. 7:14-CV-132 (HL)
D&F EQUIPMENT SALES, INC.,

      Defendant.


                                       ORDER

      A pretrial conference was held in this case on June 22, 2016. During the

conference, Plaintiff’s Motion in Limine (Doc. 45) and Defendant’s Motion in

Limine (Doc. 44) were heard. The Court enters the following order on these

motions.

I.    PLAINTIFF’S MOTION IN LIMINE

      A.     Testimony by John B. Holecek as to Defendant’s duty to install
             an emergency stop device.

      Plaintiff moves the Court for an Order prohibiting Defendant’s expert, John

B. Holecek, from giving an opinion or otherwise testifying that Defendant had no

duty to install an emergency stop device. Defendant consents to this motion, to

the extent that it relates to a legal duty as opposed to the Occupational Safety

and   Health       Administration   (“OSHA”)    regulations.   Plaintiff’s   motion   is
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SUSTAINED. Defendant’s expert will not be permitted to provide an opinion or

to otherwise testify as to Defendant’s duty under the law.

         B.    Evidence as to Nonparty Fault or Apportionment

         Plaintiff moves to exclude evidence of nonparty fault and asks the Court to

prohibit Defendant from seeking to apportion damages to nonparties. Plaintiff

argues that Defendant failed to provide notice of nonparty fault in a pleading and

failed to assert nonparty fault in a timely manner. Further, Plaintiff avers that

Defendant has failed to produce evidence sufficient for a finding of nonparty fault.

The Court agrees that Defendant’s notice of nonparty fault with respect to

Knight’s Electric1 failed to provide an adequate statement of the basis for

believing Knight’s Electric was at fault. However, Defendant’s notice of nonparty

fault with respect to Sanderson Farms was sufficient.

         Plaintiff also contends that the apportionment statute, OCGA § 51-12-33, is

inapplicable because this action is only against one defendant. Plaintiff argues

that the apportionment statute only applies “[w]here an action is brought against

more than one person. . . .” OCGA § 51-12-33(b). Plaintiff submitted a Trial

Brief (Doc. 54) on this issue, to which Defendant responded (Doc. 55). Plaintiff



1
    Defendant provided the following notice of nonparty fault for Knight’s Electric:

         “2. Knight’s Electric, 105 Circle Rd, Moultrie, GA 31768, (229) 985-
         0724. This was the electrical contractor hired by Sanderson Farms
         to supply power and controls to the vertical conveyor.”

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relies on Alston & Bird, LLP v. Hatcher Management Holdings2. In Alston & Bird,

the trial court struck Alston & Bird’s notice of nonparty fault, holding that the

apportionment statute was inapplicable in cases involving a single defendant. In

a substitute opinion, the Georgia Court of Appeals held that the trial court erred in

striking the notice of nonparty fault. The Court acknowledged that OCGA § 51-

12-33(b) clearly and unambiguously limits apportionment of damages to cases

“[w]here an action is brought against more than one person . . . .” However, the

Court of Appeals explained that the issue presented involved apportioning fault,

not damages. The trier of fact could properly assign fault to a nonparty pursuant

to OCGA § 51-12-33(c).3

        Here, as in Alston & Bird, Defendant’s notice of nonparty fault concerns the

apportionment of fault, not damages. Specifically, the Notice states: “Pursuant to

OCGA § 51-12-33(c), Defendant provides this notice and requests the Court to

instruct the trier of fact, in assessing percentages of fault, to consider the fault of

the following non-party entity which contributed to the injuries and damages

alleged in Plaintiffs’ [sic] Complaint.” (Def.’s Notice of Non-Party Fault, Doc. 30).

Thus, the Court holds that, to the extent Defendant can prove that Sanderson



2
    Case No. A15A1677 (Ga. Ct. App. Mar. 1, 2016)
3
  OCGA § 51-12-33(c) states: “In assessing percentages of fault, the trier of fact
shall consider the fault of all persons or entities who contributed to the alleged
injury or damages, regardless of whether the person or entity was, or could have
been, named as a party to the suit.”
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Farms breached a legal duty in tort that it owed Plaintiff, the breach of which is a

proximate cause of the injury that Plaintiff sustained, the trier of fact in this case

may be permitted under OCGA § 51-12-33(c) to assign fault to Sanderson

Farms. See Zaldivar v. Pritchett, 774 S.E.2d 688, 699 (Ga. 2015). Plaintiff’s

motion is SUSTAINED as to nonparty Knight’s Electric and OVERRULED as to

nonparty Sanderson Farms.

II.   DEFENDANT’S MOTION IN LIMINE

      A.     OSHA’s applicability to Defendant

      Defendant moves for a ruling that the regulations promulgated by OSHA

do not apply to Defendant, a manufacturer. Plaintiff counters that, while OSHA

does not apply to manufacturers, the regulations are relevant to the issues

presented in this case, because “Defendant’s failure to provide an OSHA-

compliant DFM500 provides grounds for Plaintiff’s strict liability and negligence

claims.” (Pl.’s Resp. to Def.’s Mot. in Limine, Doc. 46, p. 2). Because Plaintiff

concedes that OSHA does not apply to manufacturers, such as Defendant, this

motion is SUSTAINED. The Court RESERVES ruling on any objections to the

relevance of OSHA regulations.

      B.     Evidence that Defendant was Stubbornly Litigious and that
             Plaintiff is Entitled to Attorney’s Fees

      Defendant moves the Court to exclude testimony that Defendant “has

acted in bad faith, been stubbornly litigious, and has put Plaintiff to unnecessary


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trouble and expense, authorizing an award of Plaintiff’s expenses of litigation,

including attorney’s fees.” (Def.’s Mot. in Limine, Doc. 44, p. 3). The Court

RESERVES ruling.

      C.    Evidence Regarding Settlement Discussions

      The parties consent to this motion. It is SUSTAINED.

      D.    Evidence Regarding Insurance Coverage

      Defendant moves the Court to exclude evidence of the existence of

insurance coverage, including in voir dire and the charge to the jury.       With

respect to the jury charge, Defendant moves to exclude a portion of Plaintiff’s

Request to Charge No. 1, which explains the factors the jury must consider in

determining whether the manufacturer acted reasonably in choosing a particular

product design.   The relevant portion, factor (8), states, “8) the feasibility of

spreading any increased cost through the product’s price or by purchasing

insurance.” (Pl.’s Request to Charge No. 1, Doc. 36, p. 32). Plaintiff verbally

withdrew factor (8) from the proposed jury charge at the pre-trial conference.

Thus, this portion of Defendant’s Motion in Limine is resolved. With respect to

other evidence of the existence of insurance coverage, including during voir dire,

the Court RESERVES ruling.




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      E.    Evidence of Medical Bills in Excess of What a Medical Provider
            Can Charge for a Workers’ Compensation Patient

      Defendant moves to exclude evidence of the “retail rates” for medical

treatment endured by Plaintiff. Defendant argues that the reasonable cost of

Plaintiff’s medical treatment is limited to the amount paid for that treatment by

Plaintiff’s employer pursuant to the fee schedule promulgated by the State Board

of Workers’ Compensation (the “Board”).        In response, Plaintiff argues that

evidence of the Board’s fee schedule would violate the collateral source rule,

which provides that “the receipt of benefits or mitigation of loss from sources

other than the defendant will not operate to diminish the plaintiff’s recovery of

damages.” Polito v. Holland, 365 S.E.2d 273, 274 (Ga. 1988) (citation omitted).

Further, Plaintiff contends that the fee schedule is inapplicable because this case

is against a non-employer, and that the fee schedule is only intended as a

guideline for reasonable medical expenses.

      In Georgia, a personal injury plaintiff is entitled to recover the “reasonable

and necessary” medical expenses arising from his or her injury. MCG Health,

Inc. v. Kight, 750 S.E.2d 813, 817 (Ga. Ct. App. 2013). The Court concludes that

“reasonable and necessary” medical expenses are the undiminished billed

charges for the treatment rendered. In this case, the “reasonable and necessary”

medical expenses were those paid by Plaintiff’s employer for her treatment

resulting from the injury. The Court acknowledges, however, that the collateral


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source rule prohibits mention of the fact that these expenses were paid by

Plaintiff’s employer. See Hammond v. Lee, 536 S.E.2d 231, 234–35 (Ga. Ct.

App. 2000) (“the trial court properly excluded prejudicial references to the fact

that   Hammond       had   received   collateral   source   benefits   from   workers’

compensation insurance).

       Accordingly, the Court holds that the “reasonable and necessary” medical

expenses in this case are those paid by Plaintiff’s employer for Plaintiff’s

treatment arising from her injury, not the “retail rates” for the treatment. The

Parties may choose to present evidence of these expenses in the method of their

choosing. However, the Court rules in limine that any evidence to the effect that

Plaintiff’s medical expenses were paid by her employer due to workers’

compensation insurance or that rates for Plaintiff’s medical expenses were

reduced pursuant to the Board’s fee schedule would violate the collateral source

rule and is therefore inadmissible. Defendant’s motion is SUSTAINED IN PART

and OVERRULED IN PART.

       F.      Evidence of Financial Condition

       The parties consent to this motion. It is SUSTAINED.

       G.      Evidence of Plaintiff’s Worldly Circumstances and Inability to
               Pay for Medical Treatment

       The parties consent to this motion. It is SUSTAINED.




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      H.      Any Expression by Plaintiff’s Attorney of His Opinion as to the
              Credibility of a Witness or as to the Merits of Plaintiff’s Claims

      The parties consent to this motion. It is SUSTAINED.

      I.      Any Reference to Plaintiff’s Requirement to Pay Attorney’s Fees

      The parties consent to this motion. It is SUSTAINED.

      J.      Any Reference to Pretrial Discovery or Litigation Disputes

      The parties consent to this motion. It is SUSTAINED.

      K.      Any Demand for Items in Possession of Defendant

      The parties consent to this motion. It is SUSTAINED.

      L.      “Send a Message” Arguments

      The parties consent to this motion. It is SUSTAINED.

      M.      Invoking the Rule of Sequestration

      The parties consent to this motion. It is SUSTAINED.

      N.      Reports Regarding any Prior or Subsequent Dissimilar Incident

      The parties consent to this motion. It is SUSTAINED.

      O.      Any Comparison of this Case to Other Claims, Cases, Injuries,
              Settlements or Verdicts

      The parties consent to this motion. It is SUSTAINED.

      P.      Any Improper Lines of Questioning in the Presence of the Jury,
              Including Voir Dire

      Defendant moves the Court for an Order instructing Plaintiff’s counsel to

refrain from asking improper and prejudicial questions to the jury on voir dire and


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to refrain from certain comments in opening statements to the jury. Specifically,

Defendant asks that Plaintiff not be permitted to ask hypothetical questions

causing prospective jurors to prejudge the evidence, or to comment on or

question regarding a possible award of damages. The Court RESERVES ruling.

      Q.      Medical Opinions by Plaintiff and Lay Witnesses

      The parties consent to this motion. It is SUSTAINED.

      R.      Lay Testimony Concerning Future Medical Expenses

      The parties consent to this motion. It is SUSTAINED.

      S.      Lay Testimony as to any Alleged Permanent Injury

      The parties consent to this motion. It is SUSTAINED.

      T.      Testimony Regarding “Anxiety” About Payment of Medical
              Bills; Testimony Regarding Inability to Treat or Reductions in
              Treatment Due to Financial Concerns

      The parties consent to this motion. It is SUSTAINED.

      U.      Conduct of Defendant After the Incident

      The parties consent to this motion. It is SUSTAINED.

      V.      Argument that the Jury Should Disregard the Apportionment
              Statute, that the Jury Should Nullify the Apportionment Statute,
              or that the Jury Should Consider the Apportionment Statute a
              “Reduction of the Plaintiff’s Damages”

      Defendant moves to exclude any argument by Plaintiff’s counsel that is

“designed to steer the jury towards any considerations other than the allocation

of fault of the parties and the correctly-designated nonparty,” because such


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argument “would be asking the jury not to follow the law.” (Def.’s Mot. in Limine,

Doc. 44, p. 22). The Court RESERVES ruling.

      W.     Any Reference to the Size or Financial Worth of Defendant

      Defendant moves to exclude any evidence or comment regarding the size

of Defendant, the number of locations it has, or any other argument meant to

infer that Defendant has the financial means to satisfy any judgment. Plaintiff

counters that Defendant’s size may be relevant to other evidence presented

during the course of the trial, such as the reason Defendant knew or should have

known of the industry standards relating to the installation of e-stop devices on

DFM500s. The Court RESERVES ruling.

      X.     Any Argument and Evidence Regarding Defendant’s Alleged
             Moral or Ethical Obligations

      The parties consent to this motion. It is SUSTAINED.

      Y.     Any Questions Seeking to Elicit Any Legal Conclusions from
             Witnesses

      The parties consent to this motion. It is SUSTAINED.

      Z.     Any Argument that Money is the Only Consequence

      Defendant moves to exclude any argument by Plaintiff’s counsel that

money is the only consequence Defendant faces under the circumstances.

Plaintiff’s counsel explained during the pre-trial conference that he does not plan

to state that “money is the only consequence of this trial”; rather, he plans to tell

the jury that this is a civil case, and that “no one is going to jail” or that “no one is

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going to lose their liberty” as a result of this lawsuit. The comments Plaintiff’s

counsel plans to make are matters on which the Court will charge the jury,

rendering such arguments unnecessary. Defendant’s motion is SUSTAINED.

      SO ORDERED this 11th day of July, 2016.

                               s/ Hugh Lawson_______________
                               HUGH LAWSON, SENIOR JUDGE

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